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UNITED STATES v. ANRHOREE “vem February 1, 2006
PELLICANO et al, No. CR 05-1046qB):8:.' CRLF. * =

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‘DANIEL A. SAUNDERS
KEVIN M. LALLY

Assistant United States Attorneys
Criminal Division

To: SHERRI R. CARTER
Clerk, United States’ D1
Central District of California

The accompanying matter being filed on February 1, 2006,

relates to does not relate to

 

(1) a matter pending in the Criminal Division of the United States Attomey’s Office (“USAQ”) between October
2002, and October 5, 2003, the dates during which Jacqueline Chooljian was Chief of the Criminal Division in the
USAO; (2) a matter pending in the Major Frauds Section of the USAO between October 5, 2003, and January 6,
2006, the date on which Jacqueline Chooljian resigned her appointment in the USAO; or (3) a matter in which
Jacqueline Chooljian was personally involved or on which she was personally consulted while employed in the
USAO.

relates to X __ does not relate to

a matter in which Patrick J. Walsh was personally involved or on which he was personally consulted while employed
in the USAO,

relates to X__ does not relate to

(1) a matter pending in the Major Frauds Section of the USAO before June 30, 2001, the date on which Jennifer T.
Lum resigned her appointment in that office; or (2) a matter in which Jennifer T. Lum was personally involved or on
which she was personally consulted while employed in the USAQ,

relates to X__ does not relate to

(1) a matter pending in the Organized Crime Section of the USAO before September 29, 2000, the date on which
Stephen G. Larson resigned his appointment in that office; or (2) a matter in which Stephen G. Larson was
personally involved or on which he was personally consulted while employed in the USAO.

relates to X__ does not relate to

(1) a matter pending in the Narcotics Section of the USAO before April 20, 1999, the date on which Jefitey W.
Johnson resigned his appointment in that office; or (2) a matter in which Jeffrey W. Johnson was personally involved
or on which he was personally consulted while employed in the USAO. —_

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“VS SSSR 4
DANIEL A. SAUNER
Assistant United Sta

 

 

 

 

 

 

 
